




NO. 07-04-0025-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL A



MARCH 4, 2004



______________________________





IN THE INTEREST OF C.S.L., A CHILD



_________________________________



FROM THE 100TH DISTRICT COURT OF CARSON COUNTY;



NO. 9231; HONORABLE DAVID MCCOY, JUDGE



_______________________________



Before JOHNSON, C.J., and REAVIS and CAMPBELL, JJ.

MEMORANDUM OPINION

On January 21, 2004, the clerk of this court received a copy of a Notice of Appeal &nbsp;filed on behalf of appellant Carol Osmond. &nbsp;By letter dated January 26, 2004, the clerk advised appellant that 
a filing fee had not been received, 
see
 
Tex. R. App. P
. 5
, 
nor had a docketing statement been filed. &nbsp;
See
 
Tex. R. App. P
. 32.1
. &nbsp;The clerk’s letter likewise advised that 
no further action would be taken on the appeal by this Court until a filing fee had been paid and that failure to pay the filing fee
 may result in dismissal of the appeal. &nbsp;
See
 
Tex. R. App. P
. 42.3. 

The filing fee was not paid. &nbsp;By letter dated February 12, 2004, the clerk advised counsel for appellant that the filing fee had still not been paid
, and that unless 
the filing fee was received on or before February 23, 2004
, the appeal would be subject to dismissal. 

 	
The filing fee has not been paid
. &nbsp;Accordingly, this appeal is dismissed. &nbsp;
Tex. R. App. P
. 42.3.



Phil Johnson

Chief Justice










